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                                      DEPARTMENT OF LAW
                                   OFFICE OF THE CORPORATION COUNSEL
                                          CITY OF SYRACUSE, MAYOR BEN WALSH


Corporation Counsel          November 3, 2023
Susan R. Katzoff

First Assistant
                             Via Electronic Filing
Corporation Counsel          Catherine O’Hagan Wolfe, Clerk of Court
Joseph W. Barry III          U.S. Court of Appeals for the Second Circuit
                             40 Foley Square
Senior Corporation
                             New York, New York 10007
Counsel
Todd M. Long
Meghan E. Ryan               Re:   Antonyuk v. Hochul, Nos. 22-2908, 22-2972

First Assistant Senior       Dear Ms. Wolf:
Corporation Counsel
John C. Black Jr.
Catherine E. Carnrike        My office represents Defendant-Appellant Chief of Police Joseph Cecile (“Chief Cecile”)
Amanda R. Harrington         in the above consolidated matters. I write in response to Plaintiffs-Appellees’ letter
Danielle B. Pires            submitted pursuant to Federal Rule of Appellate Procedure 28(j), dated October 27,
Danielle R. Smith
                             2023. Dkt. No. 400. For the reasons stated in the State Defendants’ letter of November
Assistant Corporation        2, 2023, Dkt. No. 402, Chief Cecile respectfully submits that the district court’s decision
Counsel                      in Srour v. New York City, New York, 2023 WL 7005172 (S.D.N.Y. Oct. 24, 2023), does
Darienn P. Balin             not constitute a “pertinent and significant authorit[y]” as contemplated by FRAP 28(j).
John J. Connor
Valerie T. Didamo
Meira N. Hertzberg           Thank you for your attention in this matter.
Trevor McDaniel
Patrick J. Parkinson         Very Truly Yours,
Meir Teitelbaum
Zachary A. Waksman


Department of Law
Office of Corp. Counsel
233 E. Washington St.        Danielle R. Smith
City Hall, Room 300          First Assistant Senior Corporation Counsel
Syracuse, N.Y. 13202

Office 315 448-8400          cc:   All Counsel of record (via ECF)
Housing 315 448-8409
Fax     315 448-8381
Email law@syr.gov

www.syr.gov




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